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     1   ~\>\\ \ \'):~<ft<~t.~"- IN THE UNITED STATES DISTRICT COURT
     2       oO~~~~~..~O~oR THE EASTERN DISTRICT OF NORTH CAROLINA
     3 ~~!!~\C~ co                EASTERN DIVISION
           "'us"'~                                           ·
    4       BROWN, LENTON CREDELLE                     )
    5                                                  )
    6                        vs.                       )            Case No. 4t~o-QV-b ~-FL­
    7                                                  )
    8                                                  )             MfflNBEB-COMPLAINT
    9       LENOIR COUNTY BOARD OF                     )
   10       ELECTIONS                                   )            JURY TRIAL DEMANDED
    11                                                  )
                                                                                                 ---
   12       NORTH CAROLINA STATE BOARD                   )
   13       OF ELECTIONS                                 )
   14           AMANDA EUBANKS                          )
   15       Daquan                                     )
   16
   17


   18       Come the Plaintiffs and for cause of action would state as follows:
   19
   20                                                 1. INTRODUCTION

   21             1.This action is brought by Lenton Credelle Brown, an African American college educated

   22           veteran who ran for North Carolina House of Representatives District 12 to vindicate profound

   23           deprivations of my constitutional rights as a result of race based policies, procedures, customs,

   24                                                        practices.

   25       2. This action arises under the First, Fifth, and Fourteenth Amendments to the United States
   26       Constitution; under federal law, specifically, 42 U.S.C.§ 1981, 42 U.S.C. 1983, 42 U.S.C. §
   27       1988, 28 U.S.C. §1343(a)(3) or the general federal question jurisdiction statute, 28
   28       .S.C. § 1331.42, and under North Carolina General Statutes Chapter 163,
   29             3. The Jurisdiction of this Court is invoked pursuant to 28 U.S.C. § 1331, 28 U.S.C. §
   30                1343, 28 U~S.C. § 2201.
   31       4. Venue is properly set in the United States District Court for the District of Eastern
   32       North Carolina pursuant to 28 U.S.C. §1391.
    33            5. The Case Issue is: (1). whether a candidate who failed to meet the minimum requirements
34           to be in the race which is payment of the required entrance fee on or before December 20,
35           2019 at 12:00 p.m. should be certified as the winner, (2). whether election results which
36           the data clearly shows were tampered with or falsified in violation of the Fifth
37           Amendment Due Process Clause, the Fourteenth Equal Protection Clause should be
38           certified, and (3). whether a candidate who prevailed in a rigged election can be certified
39           in Violation of Article 1, Section 2 of the U.S. Constitution. Article I, Section 2, specifies
40           that the House of Representatives be composed of members who are chosen every two
41           years by the people of the states. The evidence will show alleged corruption on the part of
42           Candidate Virginia Cox-Daugherty in that she allegedly conspired with Amanda Eubanks to
43           rig the election, and allegedly took monies that exceeded $1,000 without reporting the
44           contributions in the required 48 hour period. Also at issue was whether the Local Board of
45           Local Elections serve as a neutral body or was employee Amy the eyes and ears of the Chris
46           Humphrey campaign.
47               Also, at issue is the Lenoir County Board of Elections role in perpetrating this
48               ELECTION DAY/PRIMARY FRAUD/HOAX ON THE CITIZENS OF U.S. HOUSE OF
49               REPRESENTATIVES DISTRICT 12 AND THEIR ABJECT FAILURE TO MAINTAIN THE
50          SECURITY OF THEIR VOTING MACHINES AND THE INTEGRETY OUR VOTING PROCESS.


51    6. Action is also brought against North Carolina State Board of Elections for failure to properly
52   investigate and address complaints; especially, the fact Vrrginia Cox-Daugherty failed to pay the filing
53   and as such could not run for N.C. House of Representatives-District 12. The North Carolina Board of
54   Elections failed to properly train and supervise the individuals at the Local Board Level. They failed to
55   ensure all candidates were treated fairly and equally; as evidenced by, Amy allegedly frequently
56   informing the Chis Humphrey's Campaign concerning election developments. They failed to enforce
57   state policies, procedure, practices and customs equally and fairly in Violation of the Fifth and
58   Fourteenth Amendments to the United States Constitution; for example, allowing Vrrginia Cox-
59   Daugherty to run after she failed to pay the fee to enter the race that everyone else was required to pay
60   on December 20, 2019. The Defendants North Carolina State Board of Elections, and the Lenoir
61   County Board of Elections are subdivisions of the State of North Carolina, and were at all times
62   material to the allegations in this Complaint,
63   7.             The causes of action alleged herein arise from factual allegations occurring in this judicial
64   district.
65   8..         On information and belief, it is alleged that almost all of the named Defendants resides in this
66   judicial district and are residents of the State of North Carolina.
67   9..         Plaintiffs reside inside the State ofNorth Carolina.
68   10.          This case in instituted in the United States District Court for the Eastern District pursuant
69   to 28 U.S.C. § 1391 as the judicial district in which all relevant events and omissions occurred and
70   in which Defendants maintain offices and/or reside.
71   11..         The amount in controversy is in excess of$ 10,000.000.00.
72
73                                                 ID. PARTIES
74    A. Plaintiffs.
75    12..     Plaintiff's mailing address is: Post Office Box 248, Wmterville, North Carolina 28590.
76           Plaintiff resides at 235 Hewitt Way, Grifton, North Carolina 28530.

77     13.     At all times relevant hereto; Plaintiff Lenton Credelle Brown was a resident of the State of
78           North Carolina and a citizen of the United States of American.
79
80    The Defendant's
81            The Defendants, the North Carolina State Board of Elections, and the Lenior County Board of
82            Elections are and corporate institution within the State of North Carolina that is organized and
83            exists pursuant to North Carolina General Btatutes 163, et. Seq. and, is a state agency that is
84             empowered to sue and be sued ..

85     27.
86          The State Board of Elections of has the responsibility for establishing and implementing policies,
87    practices, procedures, and customs used by the Lenoir county Board of Elections.
88                                                  IV. FACTS

89
90    FmST CLAIM FOR RELIEF 42 U.S.C. § 1981 - As stated in a letter to the State Board of
91    Elections, the primary election results for candidate Virginia Cox-Daugherty for N.C. House of
92    Representatives District 12 must be invalidated because per her own documents, it shows her
93    Candidate Filing Fee being paid on 12/24/2019 in the amount of $140.00. The deadline for paying
94    this fee would have been 12/20/2019 at 12:00 p.m. The fact that she failed to meet this critical
95    deadline made her ineligible to participate in the race in the first place.
96    170. Plaintiff hereby incorporates all other paragraphs of this Complaint as if fully set
97    forth herein.


98    42 USC Section 1983- Civil Action for Deprivation of Rights
 99             The Civil Action for Deprivation of Rights Act is commonly known as Section 1983.
100   The purpose of the Act is to provide a private remedy for violations of Federal Law. Section 1983
101   states:
102          "Every person who under color of any statute, ordinance, regulation
103            custom or usage of any State or Territory or the District of Columbia,
104            subjects, or causes to be subjected, any citizen of the United States or
105            other person within the jurisdiction thereof to the deprivation of any
106            rights, privileges or immunities secured by the Constitution and laws,
                  Virginia Cox-Daughett'-/ Candida·       >(

      ·,' file:///C:/Users/arnericanreal~1,1/Documents/Virginia Cox-Daugherty Candidate Filing Fee.pdf                                                                                                                                                                                                         !Ii\
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I 07           shall be liable to the party injured in an action at law, suit in equity,
108            or other proper proceeding for redress, except that in any action
I 09           brought against a judicial officer for an act or omission taken in
110            such officer's judicial capacity, injunctive relief shall not be granted
111            unless a declaratory decree was violated or declaratory relief was
112            unavailable. For the purposes of this section, any Act of Congress
113            applicable exclusively to the District of Columbia shall be considered
114            to be a statute of the District of Columbia."
115                The most common use for Section 1983 has been to get relief for those deprived of
116    their rights by police officers and other law enforcement officials. But in 1961, The Supreme
11 7   Court of the United States articulated three purposes that bolster the statute in Monroe v. Pape,1
118    where Mr. Monroe was allowed to sue Chicago police officers who allegedly committed gross
119    violations of his constitutional rights. Due to this decision, Section 1983 can be used:
120           "1. To override certain kinds of state laws.
121           2. To provide a remedy where state law was inadequate and
122                                         1 Monroe v. Pape, 365 U.S. 167(1961)
123    2
124
                      -
125           3. To provide a Federal remedy where the state remedy, though adequate in theory, was
126    not available in practice."
127           4. To permit private litigants a Federal court remedy as a first resort
128             rather than having to first bring suit in state court."
129                 Simply put, a litigant does not have to begin in state court.
130                 However, if the plaintiff chooses to sue under Section 1983 in
131                 state court, the defendant also has the right to remove the case
132                  to Federal Court.
133
134            The Supreme Court has further interpreted Section 1983 to allow liability to be found
135    where government officials act outside the scope of the authority granted to them by state law.
136    Section 1983 clearly provides:
137           1. Only persons under the statute are subject to liability, not the state.
138             State Officers can be sued in their official capacity for injunctive relief.
139            Note: A suit against a government official acting in his or her official capacity represents
140    nothing more than a suit against the Federal, state or local government entity itself. Individual
141    employees of any Federal, state or local government may be sued for damages.2
142
143            2. The Defendant (local, state or Federal government official) must have
144             exercised power given to her or him by virtue of state law and made
145             possible only because the defendant is "clothed with the authority
146             of state law" even if the defendant abuses his or her position. This is the
147             de(mition of "acting under the color of state law."
148
149                                      2 Forsythe, Ian D. "A Guide To Civil Rights Liability Under
150   42 U.S.C.1983: An Overview of Supreme Court and Eleventh Circuit Precedent," p.8, as found
151   on www.constituion.org/brief/forsythe_42-1983,htm
152   3
153
154            3. There must be" causal connection" between the defendants's actions
155               and the harm t..at results. There is no "state of mind" or "intent"
156               requirement. The only requirement is that the action taken by the
157               government causes harm and is a result of an executed policy
158               statement, ordinance, regulation or decision officially adopted and
159              authorized by that body's officers or the result of that entity's
160              customs.
161              Section 1983 is not, in and of itself, a source of substantive rights. It provides a method
162   for the vindication of rights already conferred in the United States Constitution and Federal
163   Laws. A person bringing an action under Section 1983 may prevail only if he or she can
164   demonstrate (show) that he or she was "deprived" of rights secured by the United States
165   Constitution or federal statutes.
166            The origins of Section 1983 can be traced back to the post Civil War South, when
167   African Americans suffered abuses at the hands of state and local officials who chose not to
168   follow United States Constitutional law, but instead followed local customs to keep systems of
169   discrimination and segregation in place.
170                             Types of Section 1983 Claims
171
172   2. First Amendment Claims:
173    Section 1983 can be employed in matters where there is a First Amendment right to free speech
174   concerning government employees. Protection against retaliation by government entities against
175   whistleblowers is the goal in these claims. The speech protected in these cases must concern a
176   matter or matters of public concern or relevance in the community where the matter occurs, and
177   not "purely personal grievances" .5 In "Pickering v. Board of Education", Pickering was a
178   3 Loevy, Jon " Section 1983 Litigation In A Nutshell: Make A Case Out of It!", The Journal of
179   the DuPage County Bar Association, Volume 17(2004-05),p.2 4 Houlihan, Michael "Civil Rights-
180   Section 1983-Wrongful Death Action-Availability of Damages in Excess of Those Permitted
181   Under State Law-Jones v. Hildebrant,(Colo.1976), Western New England Law Review, Volume
182   1,lssue1(1978-1979) pg.149-152 5 op. cit., Loevy, p.2
183   5 schoolteacher who wrote a letter to the local newspaper criticizing the Board of Education (his
184   employer) for its handling of school finances. As a result, Pickering lost his job.6 Under
185   Pickering, the court rejected the notion that teachers may be constitutionally compelled to give
186   up the First Amendment rights enjoyed by all citizens to comment on matters of public interest
187   concerning the public schools where they work.
188   3. Equal Protection Claims:
189   Equal Protection claims. can be brought where one class of people is treated differently than
190   another by a Federal, state or local government or its officials. This is the case when minorities
191   bring discrimination claims against governmental entities.
192   The Courts have also recognized "class of one" claims. If an individual can show that he or she
193   has been "singled out" for irrational or differential treatment by a Federal, state or local
194   government entity or official, Section 1983 can be used in filing a "class of one claim." This
195   occurred in "Olech v. Village ofWillowbrook"7. The Olechs sued the Village of Willowbrook in
196   Federal Court (Section 1983) for delaying their access to the village water line in 1995. The
197   Olechs maintained that the Village denied them access due to an earlier lawsuit they had filed
198   against the village over an easement, which they successfully won. They believed that the officials
199   for the Village of Willowbrook intentionally withheld the water line, causing them to have to use
200   an over ground rubber hose to connect to a neighbor's well for water. They also believed that the
201   Village officials intentionally waited until winter to attempt to solve their water problems,
202   knowing that the rubber hose would freeze and leave them without water for the entire winter.
203   The Olechs were in their seventies and showed that these actions caused them suffering and
204   "singled them out" as no other citizens of the Village had been treated in such a manner.
205
206
207                                       6 Wells, Michael, "Section 1983, the First Amendment, and
208   Public Employee Speech: Shaping the Right to Fit the Remedy (and Vice Versa), University of
209   Georgia Law, Faculty Scholarship, Digital Commons@Georgia Law, April 1, 2001, pg 939-946. 7
210   Richter, Nicole, "A Standard for "Class of One" Claims Under the Equal Protection Clause of
211   the Fourteenth Amendment: Protecting Victims of Non-Class based Discrimination From
212   Vindictive State Action", Valparaiso University Law Review, Volume35, Number 1, Fall 2000,
213   pg.197-200.
214
215   8. Actions Against Priva~e Entities-Section 1983:
216   In some cases, wrongdoers are not Federal, state or even local government entities. They can be
217   privately owned and operated concerns acting pursuant to a "custom or usage", which had the
218   force oflaw in the state. In "Adickes v. S.H. Kress & Company, 398 U.S.144 90 S. Ct.1598, 26
219   L.Ed.2d 142 (1970)"12 The plaintiff was able to prove that she was refused service in a restaurant
220   and determined to be a vagrant due to her race based on a state-enforced custom of racial
221   segregation, even though no state statute promoted racial segregation in restaurants.
222                       Statute of Limitations and Section 1983
223                       There is no specific statute of limitations under Section 1983. Statute of
224   Limitations refers to the time limit in which a claim or action must be brought after any alleged
225   violation occurs.13 However, 42 U.S.C.A. Section 1988 (1976) states that where the Federal law
226   does not provide a statute of limitations, state law shall apply. ·
227   Under Section 1983, the statute of limitatifms does not begin to run until the "cause of action
228   accrues." The cause of action accrues when the injured party (the Plaintiff) knows or has reason
229   to know of the injury, which is the basis of the action.14("Cox v. Stanton, 529 F.2d
230   47[4thCir.1975]) In.employment law cases, the cause of action accrues when the discriminatory
231   act occurs. Simply put, if an employee is notified that he or she is to be released from
232   empioyment, the statute of limitations begins when the employee is notified, not when the
233   termination begins.15(Chardon v. Fernandez, 454 U.S. 6, 102 S. Ct. 28, 70 L. Ed. 2d 6 (19811).
234
235                00
236   171. 42 U.S.C. § 1981 provides that:
237   (a) STATEMENT OF EQUAL RIGHTS
238   All persons within the jurisdiction of the United States shall have the same right in
239   every State and Territory to make and enforce contracts, to sue, be parties, give
240   evidence, and to the full and equal benefit of all laws and proceedings for the
241   security of persons and property as is enjoyed by white citizens, and shall be
242   subject to like punishment, pains, penalties, taxes, licenses, and exactions of
243   every kind, and to no other.
244   (b) "MAKE AND ENFORCE CONTRACTS" DEFINED
245 . For purposes of this section, the term "make and enforce contracts" includes the
246 making, performance, modification, and termination of contracts, and the
247 enjoyment of all benefits, privileges, terms, and conditions of the contractual
248 relationship.
249 ( C) PROTECTION AGAINST IMPAIRMENT
250   The rights protected by this section are protected against impairment by
251   nongovernmental discrimination and impairment under color of State law.
252   (R.S. § 1977; Pub. L. 102-166, title I, § 101, Nov. 21, 1991, 105 Stat. 1071.)



253      1. Plaintiff in this action is a,citizen of the United States as are all of the individual
254         at the Local and State Board of Elections are for purposes of 42 U.S.C. § 1981, 1983.
255      2. All individual Defendants to this claim, at all times relevant hereto, were acting under the
256         color of state law in their capacity and their acts or omissions were conducted within the
257         scope of their official duties or employment.
258      3. At the time of the complained of events, Pbtintiff had the clearly established constitutional
259         right to be exercise .protected speech and to have his complaint heard and acted upon.
260      4. Any reasonable supervisor knew or should have known of this right at the time of the
261         complained of conduct as it was clearly established at that time.
262         Mr. Brown exercised his constitutionally protected right to engaged in protected speech by
263   running for elected office.
264      5. All of Defend ant employee participated in retaliation against the Plaintiff for his protected
265         speech and none of the Defendant officers took reasonable steps to protect Plaintiff from
266         this retaliation for the protected speech.   ·
267        6. They are each therefore liable for the damages r~sulting from the objectively unreasonable
268           and conscience shocking actions.
269        7. Defendants engaged in the conduct described by this Complaint willfully,
270             maliciously, in bad faith, and in reckless disregard of Mr. Brown's federally protected
271             constitutional rights.
272        8. The acts or omissions of all individual Defendants were moving forces behind
273             Plaintiff's damages •.
274        9.   These individual Defendants acted in concert and joint action with eacb other.
275        10. The acts or omissions of Defendants as described herein intentionally deprived
276             Plaintiff of his constitutional and statutory rights and caused him other damages.
277 ·      11. Defendants are not entitled to qualified immunity for the complained of conduct.
278        12. The Defendants to this claim at all times relevant hereto were acting pursuant to
279             state custom, policy, decision, ordinance, regulation, widespread habit, usage, or
280             practice in their actions pertaining to Plaintiff.
281        13~ As a proximate result of Defendants' unlawful conduct, Plaintiff received actual physical
282             and emotional injuries, and other damages and losses as described herein entitling him to
283             compensatory and special damages.
284        14. As a further result of the Defendants' unlawful conduct, Plaintiff has incurred special
285            damages, and may continue to incur other special damages and related expenses, in
286            amounts to be established at trial.


287            Plaintiff is further entitled to attorneys' fees and costs pursuant to 42 U.S.C. §1988, pre-
288     judgment interest and costs as allowable by federal law. There may also be special damages for
289     lien interests.
290        15. In addition to compensatory, economic, consequential and special damages,
291        16. Plaintiff is entitled to punitive damages against each of the individually named Defendants
292            under 42 U.S.C. § 1983, in that the actions of each of these individual Defendants have
293            been taken maliciously, willfully or with a reckless or wanton disregard of the
294            constitutional rights of Plaintiff.


295
296        SECOND CLAIM FOR RELIEF 42 U.S.C. § 1981-The election was rigged to favor
297             Candidate Virginia Cox-Daugherty over all other candidates in the race.


298     Nothing points to the N.C. House of Representatives District 12 being rigged more than the results of
299     Pitt County District 0601. This is one of the largest districts in Pitt County with 4,617 registered
300     voters. During the election there were over 1,450 ballots cast. The State of North Carolina's official
301     election results which they are desperate trying to certify shows the following:
302   In District 0601~ 1450 ballots were actually cast without any candidate receiving a single vote.

303   Results by Voting Method for 0601
                              Total           Election Absentee One- Absentee By- p     ..
      Choice                  Viot es Percent                               Mail    rovis1ona1
                                                  Day           Stop
      Deonko Brewer       0           0.00% 0         0              0           0
      Lenton Credelle
                          0           0.00% 0         0              0           0
      Brown
      Virginia Cox..
                          0           0.00% 0         0              0           0
      Daugherty



304   In Precinct 0200A, Vrrginia Cox Daugherty received 138 votes.
305   In Precinct 0200B, Deonk:o Brewer received 138 votes.
306   See Results by Voting Method for 0200A & 0200B
307   It is statistically improbable that one candidate would receive 138 votes in Ayden A and the other
308   candidate would receive 138 votes in Ayden B.
309   All the vote totals are extremely low and do not mirror the total of ballots cast in the voting which
310   was near historic levels and exceeded the voting in 2018


311   Results by Voting Method for 0200A
                              Total             Election Absentee One- Absentee By- p    .. ·
      Choice                  Viot es Percent                                 Mail    rov1s10na 1
                                                    Day           Stop
      Virginia Cox-
                          138         50.36% 138        0              0           0
      Daugherty
      Deonk:o Brewer      80          29.20% 80         0              0           0
      Lenton Credelle
                          56          20.44% 56         0              0           0
      Brown


312   Results by Voting Method for 0200B
                              Total             Election Absentee One- Absentee By- p ..
      Choice                          Percent       Day           Stop        Mail rov1s10na1
                              Viot es
      Deonk:o Brewer      138         46.00% 138        0              0           0
      Virginia Cox-
                          116         38.67% 116        0              0           0
      Daugherty
      Lenton Credelle
                          46          15.33% 46         0              0           0
      Brown


313   In contrast in Precinct 1001, only 408 votes were cast. Yet the candidates received a combined total of
314   314 votes out of the 408. Remember 1450 votes cast in Precinct 0601 without a singe candidate
315   receiving a single vote.

316   Results by Voting Method for 1001
                              Total             Election Absentee One- Absentee By- p  . .
      Choice                  VIot es Percent       Day           Stop        Mail rov1S10na1
      Virginia Cox-
                          183         58.28% 183        0              0           0
      Daugherty
      Deonko Brewer       66          21.02% 66         0              0           0
      Lenton Credelle
                          65          20.70% 65         0              0           0
      Brown


317   We have an eyewitness/minister who stated during the snow storm that
318   occurred prior to the election she saw a vehicle parked near the largest
319   polling precinct in Kinston, Martin C. Freeman.
320   She entered to try to vote and was turned back by a large white woman and a
321   white man. The polls were closed and the building should have been locked
322   up; instead it was wide open. These were not staff associated with the Board
323   of Elections or Parks and Recreation. Her testimony will be submitted to the
324   Court in a confidential manner.
325   Also, during the March 3, 2020 primary, there were power outages lasting between 20 minutes to 1
326   hour depending on the precinct in Lenoir County. Despite the power outage the voters continued
327   voting. The power company was called and they had no records of the power being shut off to any of
328   the voting precincts in Lenoir County.
329   There are other irregularities that would lead one to the inescapable conclusion that the voting booths
330   were tampered with in an effort to insure that Virginia Cox-Daugherty won the race.
331   Virginia Cox-Daugherty received the maximum contribution in the amount of$5400 from a billionaire
332   who has offices in Salisbury, North Carolina.
333   Virginia Cox-Daugherty like Erica D. Smith may have allegedly received support from supporters of
334   Chris Humphrey who thought that she was the weakest of the three candidates in the primary. Virginia
335   Cox-Daugherty is expected allegedly to become the subject of Federal Crimin~! Prosecution; shortly,
336   which would guarantee Chris Humphrey's re-election in November.
337   Virginia Cox-Daugherty is said to have resigned from the Board of Elections on December 20, 2019;
338   yet, her Watch Party was held at the Board of Elections.

339   The evidence in this case points to a conspiracy to rig the election to get Virginia Cox-Daugherty
340   elected with the ultimate goal to help Chris Stephen Humphrey win re-election which is not unlike all
341   of the hundreds of thousands of dpllars that Erica Smith received from Republican leaning packs
342   except that they didn't rig the vote.
      ,.


343        TfilRD CLAIM FOR RELIEF 42 U.S.C. § 1981 VIOLATION OF FIFTH AND FOURTEENTH
344        ADMENDMENT (Conspiracy to interfere with the 2020 elections)


345        We have eyewitness testimony from individuals working with the Virginia Cox-Daugherty
346        campaign that AMANDA EUBANKS and Daquan essentially commandeered the campaign
347        and that there was a seco~d bank account allegedly opened and that contributions in excess of
348        $1000 were not being report in the 48 hour time frame as required by State and Federal law.
349        Eyewitnesses that were part of her campaign staff were not allowed to spend any funds from the ·
350        account while these two individuals allegedly coordinated the rigging of the election. Interesting
351        enough the Virginia Cox-Daugherty campaign did not post any campaign posters in Lenoir
352        County until Saturday before the election. There were just a few posted in the main portion of
353        Kinston•. She failed to post any campaign posters in the outlying areas of the Lenoir County or in
354        Pitt County.
355         Candidate Virginia Cox-Daugherty in Newspaper Article published by the Daily Reflector oil
356        February 25, 2020 refused to debate, render any opinions, or answer any questions on any issues;
357        especially, the ones important to the residents of District 12. Her official response was "no
358        comment", this coming just days before the election.

359          A candidate debate was scheduled to occur on February 28, 2020 Friday at 10:00 a.m. and was being
360        sponsored by Awesome Radio. Candidate Virginia Cox-Daugherty and Deonko Brewer apparently
361        declined to accept the invitation.
362           When the Daily Drum Media Group hosted a Candidate Forum, Candidates Virginia Cox- Daugherty
363        and Deonko Brewer was noticeably absent. The Holly Hill Family Life Center hosted a 2020 Primary
364        Candidates Forum and invited all candidates on February 10, 2020. N.C. House ofRepresentative-
365        District 12 Candidates Vrrginia Cox-Daugherty and Deonko Brewer failed to attend this forum as well.
366        Another Candidate Forum was held in Raleigh which Virginia Cox-Daughter and Deonko Brewer
367        failed to attend also.
368           Virginia Cox-Daughtery has failed to articulate a platform. Virginia Cox-Daugherty did not
369        have the moral courage to show up and debate the issues with me in any of the Candidate Forums for
370        the House of Representative District 12. Candidate Lenton Brown attended all three 2020 Candidate
371        Forum and many of the discussions that he had with the citizens helped fonn the basis of his platform.
372        The people of District 12 had the absolute right to hear from each of theses candidates running
373        for office.


374        It is interesting to not that state policy prohibit state employees from interfering with elections.


375        Article 5.
376        Political Activity of Employees.
377        § 126-13. Appropriate political activity of State employees defined.
378        (a)    As an individual, each State employee retains all the rights and obligations of citizenship
379        provided in the Constitution and laws of the State of North Carolina and the Constitution and laws of
      .·

380        the United States of America; however, no State employee subject to the North Carolina Human
381        Resources Act or temporary State employee shall:
382        (1)     Take any active part in managing a campaign, or campaign for political office or
383        otherwise engage in political activity while on duty or within any period of time during which he
384        is expected to perform services for which he receives compensation from the State;
385        (2)     Otherwise use the authority of his position, or utilize State funds, supplies or vehicles to
386        secure support for or oppose any candidate, party, or issue in an election involving candidates for
387        office or party nominations, or affect the results thereof.              '~
388        (b)      No head of any State department; agency, or institution or other State employee exercising ·
389        supervisory authority shall make, issue, or enforce any rule OJ," policy the effect of which is to interfere
390        with the right of any State employee as an individual to engage in political activity while not on duty or
391        at times during which he is not performing services for which he receives compensation from the State.
392        A State employee who is or may be expected to perform his duties on a twenty-four hour per day basis
393        shall not be prevented from engaging in political activity except during regularly scheduled working
394        hours or at other times when he is actually performing the duties o---fhis office. The willful violation
395        of this subdivision shall be a Class 1 misdemeanor. (1967, c. 821, s. 1; 1985, c. 469, s. 1; c. 617, s. 5;
396        1993, c. 539, s. 930; 1994, Ex. Sess., c. 24, s. 14(c); 2013-382, s. 9.l(c).)


397             I had an absolute right to enter the.race and to run for the N.C. House of Representative-District
398        12. Neither Amanda rior Daquan had a right to interfer in the election process by trying to find a
399        suitable candidate for the N.C. House ofReprentatives-District 12 post.


400        FOURTH CLAIM FOR RELIEF Violation of 42 U.S.C. § 1981 - Deliberately Indifferent Policies,
401        Practices, Customs, Training, and Supervision in violation of the Fourth, Fourteenth, and First
402        Amendments and in violation of 42 U.S.C. § 1981 ( )
403        208. Plaintiff hereby incorporates all other paragraphs of this Complaint as if fully set
404        forth herein.
405        . 42 U.S.C. § 1981 provides that:
406        (a) STATEMENT OF EQUAL RIGHTS
407        All persons within the jurisdiction of the United States shall have the same right in
408        every State and Territory to make and enforce contracts, to sue, be parties, give
409        evidence, and to the full and equal benefit of all laws and proceedings for the
410        security of persons and property as is enjoyed by white citizens, and shall be
411        subject to like punishment, pains, penalties, taxes, licenses, and exactions of
412        every kind, and to no other.
413        (b) "MAKE AND ENFORCE CONTRACTS" DEFINED
414        For purposes of this section, the term "make and enforce contracts" includes the
415        making, performance, modification, and termination of contracts, and the
416        enjoyment of all benefits, privileges, terms, and conditions of the contractual
417        relationship.
418        (C) PROTECTION AGAINST IMPAIRMENT

419        The rights protected by this section are protected against impairment by
420   nongovernmental discrimination and impairment under color of State law.
421   (R.S. § 1977; Pub. L. 102-166, title I, § 101, Nov. 21, 1991, 105 Stat. 1071.)

422   210. Plaintiff in this action is a citizen of the United States and Defendants to this
423   claim are persons for purposes of 42 U.S.C. § 1983.
424   211. The Defendants to this claim at all times relevant hereto were acting under the
425   color of state law.


426    These Defendants developed and maintained policies, procedures, customs,and/or practices
427   exhibiting deliberate indifference to the constitutional rights of black male candidates which were
428   moving forces ~ehind and proximately caused the violations of Mr. Brown's constitutional and
429   federal rights as set forth herein and in the other claims, resulted from a conscious or deliberate
430   choice to follow a course of action from among various available alternatives.
431   219. Defendants have developed and maintained long-standing, department-wide customs,
432   policies, procedures, customs, practices, and/or failed to properly train and/or supervise its
433   employees in a manner amounting to deliberate indifference to the constitutional rights of
434   Plaintiff. In light of the duties and responsibilities of their employees , the need for specialized
435   training and supervision is so obvious, and the inadequacy of training and/or supervision is so
436   likely to result in the violation of constitutional and federal rights such as those described herein
437   that the failure to provide such specialized training and :Supervision is deliberately indifferent to
438   those rights.
439   224. Finally, Plaintiff seeks appropriate declaratory and injunctive relief which includes an
440   Emergency Permanent Injunction Against The Certification of Falsified Election Results.
441   VI. PRAYER FOR RELIEF
442   Plaintiff prays that this Court enter judgment for the Plaintiff and against each of the
443   Defendants and grant:
                                                                       )
444   A. compensatory and consequential damages, including damages for emotional distress,
445   humiliation, loss of enjoyment of life, and.other pain and suffering on all claims allowed by law in
446   an amount of $10,000,000;
447   B. economic losses on all claims allowed by law;
448   C. special damages in an amount to be determined at trial;
449   D. punitive damages on all claims allowed by law against individual Defendants and in an
450   amount to be determined at trial;
451   E. attorneys' fees and the costs associated with this action under 42 U.S.C. § 1988,
452 witness fees, on all claims allowed by law;
453 F. pre- and post-judgment interest at the lawful rate; and,
454 G. any further relief that this court deems just and proper, and any other appropriate relief at
455 law and equity.
456 PLAINTIFF REQUESTS A TRIAL BY JURY.
      .' .

457

458


459                                    Lenton Credelle Brown
460                                    Post Office Box 248
461                                    Winterville, North Carolina
462                                           28590-0248
463                                         1 (252) 208-815
464                                    americanrealtyinvestm~ntsl@gmail.com

465                                             PLAINTIFF

466                                CERTIFICATE OF SERVICE


467            I, Lenton Credelle Brown, hereby certify that I have riled the foregoing
468          AMENDED, and CERTIFICATE OF SERVICE IN CASE NO. 4:17-CV-180-FLwith the
469          Clerk of Court and also duly served the foregoing upon Defendants by depositing a copy
470          thereof, via First Class mail, postage paid in the United States mail, addressed to:

471
472

473
474
475                                         Post Office Box 248
476                                         Winterville, North Carolina
477                                              28590-0248
